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United States District Court

SOUTHERN DISTRICT OF TEX.AS
MCALLEN DIVISION

 

 

 

UNITED STATES OF AMERICA

V_ chMlNAL coMPLAlNT
Ricardo Ortiz-Gomez Principal Case Number:
YoB: 1917 Mexico M-18- 1:[)‘:\,6

(Name and Address of Defendant)

I, the undersigned complainant being duly sworn state the following is true and correct to the best of my

knowledge and belief. On or about July 2, 2018 in Hidalgo Uourlty, ln
the Southern District of Texas defendants(s) did,

(T rack Stalutory Language of Ozzense)

knowing or in reckless disregard of the fact that Aaron Gonza|ez-Alvarado, a citizen and national of the United
Mexican States, and Kar|a Lorena Alvarado-Santay, a citizen and national of Guatemala, along with ten (10) other
undocumented aliens, for a total of twelve (12), who had entered the United States in violation of law, concealed,
harbored or shielded from detection or attempt to concea|, harbor, or shield from detection such aliens in any
place, including any building or means of transportation, to wit: a residence located at Donna, Texas.

in violation of Title 8 United States Code, Section(s) 1324(a)(1)(A)(iii) FELONY
l further state that l am a(n) U.S. Senior Border Patrol Agent and that this complaint is based on the
following facts:

 

On June 22, 2018, Border Patrol Agents received information regarding a possible stash house located at 336 E. Rooseve|1
Road in Donna, Texas.

On July 2, 2018, Border Patro| Agents conducted surveillance on the residence and observed a male subject. The male
subject, later identified as Rica rdo Ortiz-Gomez, was approached by agents after he was seen walking outside the
property. Agents questioned Ortiz about alien smuggling Ortiz told agents that he was harboring at least ten (10)
undocumented aliens. Ortiz was advised of his rights and placed under arrest. Ortiz gave verbal and written consent to
search his residence. Agents searched the propertyand found twelve (12) undocumented aliens. A|| undocumented
aliens were advised of their rights and placed under arrest.

SEE ATTACHMENT

Continued on the attached sheet and made a part of this complaint: -Yes \:] No

APP’N“J ij / /l/`\ L~/ i

Signature of Comp'|ainant

 

 
  
   
 

Nicolas Cantu, Jr. Senior Patrol Agent

Swom to befor scribed in my presence, Printed Name of Complainant

July 3, 2018 C ll at McAllen, Texas

Date d C and State
Juan F. A|anis , U. S. Magistrate Judge_ é; :

Name and Title of Judicial Off\cer ature of Judicial Off\cer

 

 

 

Case 7:18-m1umt@se<swes demer>eeu/Rarlg rage 2 Of 3
SOUTHERN D|STR|CT OF TEXAS
McALLEN, TEXAS

ATTAcHMENT To chMiNAL coMPLAlNT:
M-1a- l'b'lfo -M

RE: Ricardo Ortiz-Gomez

CONTINUAT|ON:

Ortiz and the twelve (12) undocumented aliens were transported to the McAllen Processing Center.

Princigal Statement:

Ricardo Ortiz-Gomez was read his Miranda rights. He understood his rights and provided a sworn
statement.

Ortiz, a Mexican citizen, stated he illegally entered the United States about eighteen (18) years ago.
He transported all the undocumented aliens to his property. He would receive phone calls about
twice a week to pick up the undocumented aliens. Ortiz would get paid $100 USD per
undocumented alien. Ortiz instructed the aliens to stay in a building behind his house. He told them
they could come out but could not leave. Ortiz claims he provided grocery’s and told the
undocumented aliens to cook for themselves. On occasion, Ortiz says he would barbeque for the
undocumented aliens. Ortiz also kept a ledger of the names of the undocumented aliens but
admits he didn't write them all.

Material Witnesses:

Aaron Gonza|ez-A|varado and Karla Lorena A|varado-Santay were read their l\/liranda rights. Both
understood and provided a sworn statement.

Aaron Gonza|ez-A|varado, citizen of l\/lexico, claimed he made his smuggling arrangements and was
to pay 6,500 USD. Gonza|ez stated he walked across the river with a group of four people, including
a foot guide. Gonza|ez and the group walked for two to three hours before boarding a white four
door car. Gonza|ez was eventually transported to the residence he was arrested at. Gonza|ez
stated a male subject would check on them once a day and on one occasion, dropped off water and
sport drinks. Gonza|ez claimed the same male subject asked them to help throw bags of trash out.
Gonza|ez was at the residence for three days before he was arrested by Border Patro| Agents.

Gonza|ez identified Ricardo ORTlZ-Gomez, through a photo lineup, as the male subject who
dropped off beverages at the residence.

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SOUTHERN D|STR|CT OF TEXAS
McALLEN, TEXAS

ATTACHMENT TO CR|M|NAL COMPLA|NT:

M-18- |3'§(9 -M

RE: Ricardo Ortiz-Gomez A215 770 598

CONT|NUAT|ON:

Karla Lorena A|varado-Santay, a citizen of Guatemala, stated she made the smuggling arrangements
and was going to Boston, Nlassachusetts. The total cost for the smuggling arrangements came to
$10,000 USD and she has paid $6,000 USD. A|varado claims that she crossed the United States
illegally with six other individuals. After crossing the river, A|varado and the others walked for
several hours and then were picked up. A|varado was taken to the stash house where she was
apprehended At the stash house, a male subject told her where to stay and shower. A|varado was
also provided with food and water.

A|varado identified Ricardo Ortiz-Gomez, through a photo lineup, as the caretaker of the house
where she was staying.

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